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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,             )                    No.19-cr-10459-RWZ
                       Plaintiff      )
            v.                        )
                                      )
MICHAEL CECCHETELLI                   )
                                      )
                       Defendant.     )
______________________________________)

              MOTION TO ADDRESS CLIENT’s MEDICAL TREATMENT


      Counsel for Defendant MICHAEL CECCHETELLI respectfully moves

this Honorable Court to hold a hearing to address the necessary

medical treatment that Mr. CECCHETELLI requires while he is being

held during pre-trial detention.



Date: December 11, 2019                 Respectfully submitted,

                                         /S/ Michael C. Bourbeau

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                                        Attorney for Defendant
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                                Certificate of Service

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                                  S/ Michael C. Bourbeau
